

People v Philippeaux (2021 NY Slip Op 02879)





People v Philippeaux


2021 NY Slip Op 02879


Decided on May 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2021

Before: Renwick, J.P., Kapnick, Singh, Kennedy, JJ. 


Ind No. 582/18 Appeal No. 13768 Case No. 2019-841 

[*1]The People of the State of New York, Respondent,
vChristopher Philippeaux, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Anjali Pathmanathan of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Jennifer Westphal of counsel), for respondent.



Judgment, Supreme Court, New York County (Abraham L. Clott, J.), rendered January 24, 2019, convicting defendant, upon his plea of guilty, of attempted robbery in the first degree, and sentencing him to a term of four years, with five years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the postrelease supervision component of the sentence to a period of three years, and vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
We find the sentence excessive to the extent indicated.
Based on the People's consent, and pursuant to our own interest of justice
powers, we waive the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2021








